  Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 1 of 47 PageID #: 1




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


PELOTON INTERACTIVE, INC.,                      )
                                                )
                      Plaintiff,                )
                                                )   C.A. No. ______________
               v.                               )
                                                )   DEMAND FOR JURY TRIAL
ECHELON FITNESS, LLC,                           )
                                                )
                      Defendant.                )


                    COMPLAINT FOR PATENT INFRINGEMENT,
            TRADEMARK INFRINGEMENT, TRADE DRESS INFRINGEMENT,
             TRADEMARK AND TRADE DRESS DILUTION, TRADE LIBEL,
              FALSE ADVERTISING, AND UNFAIR BUSINESS PRACTICES

       Plaintiff Peloton Interactive, Inc. (“Peloton”), through its attorneys at Hueston Hennigan

LLP and Morris, Nichols, Arsht & Tunnell LLP, hereby brings this action against Echelon

Fitness, LLC (“Echelon”), and alleges as follows:

                                   SUMMARY OF THE ACTION

       1.      Since its inception in 2012, Peloton has disrupted the fitness industry, becoming

the largest interactive fitness platform in the world with a loyal community of over 1.4 million

members. Peloton has delivered more than 400,000 Peloton bikes (“Peloton Bike”), and, in

fiscal year 2019 alone, its members completed over 58 million Peloton workouts. The Peloton

Bike has received near-universal adulation, with Men’s Health naming it “the best cardio

machine on the planet.” Peloton now employs more than 1,900 people across the country and

earned more than $900 million in revenue in fiscal year 2019.

       2.      With Peloton’s hard-fought success, competitors, including Defendant Echelon,

have attempted to free ride off Peloton’s innovative technology. Rather than develop new
  Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 2 of 47 PageID #: 2




technology, Echelon chose to simply appropriate Peloton’s intellectual property and flood the

market with cheap, copycat products. Echelon similarly chose to copy Peloton’s federally

registered trademark and the Peloton Bike’s distinctive trade dress, including but not limited to

Peloton’s distinctive logo, coloring, and font. Unsurprisingly, the market has taken notice: on

August 28, 2019, The New York Times published an article calling Echelon’s products “a blatant

knockoff” of Peloton’s, right “down to a round black logo.”

       3.      With its Smart Connect EX1, EX3, EX5, and EX5s bikes, Echelon specifically

infringes the Peloton Patents by, among other things, displaying live and archived cycling class

content to remote riders, tracking a remote rider’s performance, and comparing that remote

rider’s performance against the performance of other remote riders. Echelon also infringes the

Peloton Patents by imitating the Peloton Bike experience through the “Echelon Fit App” which,

among other things, detects, synchronizes, and compares the ride metrics of remote users on a

graphical user interface.

       4.      Echelon has also unlawfully engaged in a false advertising campaign in an effort

to further undercut Peloton’s business. For example, Echelon has disseminated advertisements

that mislead customers by claiming Peloton’s “Bike Price” is $2,245, while Echelon’s “Bike

Price” is $999. In truth, Peloton’s “Bike Price” includes the actual bike and a 22-inch high-

definition touchscreen display, while Echelon’s “Bike Price” includes only the actual bike—to

use their service, Echelon customers are forced to purchase their own display device at a cost of

hundreds of additional dollars.   Echelon misleads customers by comparing deceptive price

points. In fact, the Echelon product that does include a touchscreen and is thus the proper

comparator sells for $1,639.98, not $999. And even that $1,639.98 price point does not include

shipping or assembly. Echelon’s standard shipping and assembly costs $399.98, meaning that




                                               2
  Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 3 of 47 PageID #: 3




the accurate comparator price of an Echelon bike is $2039.96 – just $200 less than the $2,245

price of a Peloton bike, which includes both delivery and setup. Echelon is thus misleading

customers with deceptive comparisons and continues to sell the bikes widely promoted in these

false and misleading advertisements.

       5.      Echelon also misrepresents to consumers that Peloton’s workouts are limited to

“‘After The Ride’ + Cross Training Workouts” while Echelon purportedly provides “‘FitPass’

featuring trainer-led yoga, stretching, pre-and-post workout sessions, meditations, pilates,

kickboxing, Zumba and more.” In fact, Peloton workouts also include instructor-led yoga,

stretching, pre- and post-workout content, meditation, bootcamp, indoor and outdoor running and

walking, and more—far more than Echelon offers. Echelon also falsely tells consumers that

Peloton has only 12 instructors while Echelon has over 30 trainers—Peloton actually has 29,

while Echelon has only 17 trainers featured on its website.

       6.      Through its false advertising campaign, Echelon has engaged in unfair

competition by, among other things, misleading customers about the price of the parties’

products, misrepresenting the breadth of Peloton’s workouts, and deflating the number of

instructors Peloton has while inflating the Echelon offering. As a result, Echelon has unfairly

stolen customers from Peloton and attracted funding from investors that has reportedly brought

Echelon’s total valuation to over $100 million.

       7.      Peloton brings this suit to protect its rights and put an end to Echelon’s patent

infringement, trademark infringement, trade dress infringement, trademark and trade dress

dilution, trade libel, false advertising, and deceptive business practices.




                                                  3
  Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 4 of 47 PageID #: 4




                                         THE PARTIES

       8.      Peloton is a corporation organized and existing under the laws of the State of

Delaware, with its principal place of business at 125 West 25th Street, 11th Floor, New York,

New York, 10001.

       9.      Echelon is a corporation organized and existing under the laws of the State of

Delaware. On information and belief, Echelon’s principal place of business is at 1400 Market

Street, Chattanooga, Tennessee, 37402.

                                JURISDICTION AND VENUE

       10.     Certain claims in this civil action arise under the patent laws of the United States,

35 U.S.C. § 1 et seq. This Court has subject matter jurisdiction over the patent claims pursuant

to 28 U.S.C. §§ 1331 and 1338. Certain claims in this civil action also arise under the Lanham

Act, 15 U.S.C. § 1125. This Court has subject matter jurisdiction over the Lanham Act claims

pursuant to 15 U.S.C. § 1121 and under 28 U.S.C. §§ 1331 and 1338. Subject matter jurisdiction

over related state and common law claims is proper pursuant to 28 U.S.C. §§ 1338 and 1367.

The state law claims are integrally interrelated with Peloton’s federal claims and arise from a

common nucleus of operative facts such that the administration of the state law claims with the

federal claims furthers the interest of judicial economy.

       11.     This Court has personal jurisdiction over Echelon pursuant to the laws of the State

of Delaware and the United States Constitution because Echelon is a Delaware corporation.

Echelon also regularly and continuously transacts business in the jurisdiction, including

marketing and selling Echelon services and products throughout the State of Delaware. Echelon

places infringing products within the stream of commerce, which stream is directed at the State

of Delaware, with knowledge and/or understanding that those products will be sold in the State




                                                 4
  Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 5 of 47 PageID #: 5




of Delaware. Echelon has also disseminated false and misleading information in the State of

Delaware about both the Echelon and Peloton products and services as part of its marketing

campaign.

        12.     Echelon has infringed or caused infringement in the State of Delaware by, among

other things, promoting, offering for sale, and selling the infringing Echelon Bikes in the District.

Echelon also provides services and assembles products that are and have been used, offered for

sale, sold, and purchased in the State of Delaware. Therefore, the exercise of jurisdiction over

Echelon is appropriate under the applicable jurisdictional statutes and would not offend

traditional notions of fair play and substantial justice.

        13.     Venue is proper for claims in this district under 28 U.S.C. §§ 1391(b) & (c) and

1400(b) because Echelon is incorporated in the State of Delaware and has committed, and

continues to commit, acts of patent infringement, unfair competition and false advertising,

trademark infringement, trade dress infringement, trademark and trade dress dilution, trade libel,

and deceptive trade practices within the State of Delaware.




                                                   5
  Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 6 of 47 PageID #: 6




                                 FACTUAL ALLEGATIONS

  I.   Disrupting the Fitness Category

       14.     Since being founded in early 2012, Peloton has revolutionized the fitness industry

with its category-creating at-home cycling bike, the Peloton Bike. Unlike the at-home bikes that

came before it, the Peloton Bike is a sleek, technologically advanced system that combines a

first-in-class exercise bike with state-of-the-art technology that allows riders to experience live

and on-demand cycling classes—led by some of the world’s best instructors—from the comfort

of their own homes.

       15.     Featuring a 22-inch high-definition, sweat resistant, multitouch tablet, the Peloton

Bike measures and displays a rider’s performance metrics and presents those metrics for live or

time-synced comparison with other Peloton riders. This new technology allows Peloton riders to

see where their performance stands against all other riders on a leaderboard throughout the

cycling class, re-creating the energetic and competitive in-studio cycling experience at home on

their own schedule.

       16.     In fact, not only does Peloton recreate the in-studio experience, it improves it. A

rider taking a regular in-studio class may see his or her performance compared only against the

other riders in the same class at the same time. The same rider taking a class on a Peloton Bike

can see her performance compared, at every point in the class, against hundreds (for a live class)

or even thousands (for an on-demand class) of other riders from around the world, regardless of

when they took the class. In addition, the Peloton Bike allows its riders to interact with other

remote riders during a class, for example by giving a virtual “high five” to another rider,

encouraging a friend via live video chat, or saving a song heard in class to their favorite

streaming service. These features are not available or useful for in-studio-only cycling classes.




                                                 6
Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 7 of 47 PageID #: 7




                            Above: The Peloton Bike




              Above: The Peloton Graphical User Interface and Leaderboard



                                       7
  Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 8 of 47 PageID #: 8




        Above: The Peloton Graphical User Interface, Leaderboard, and Live Video Chat

        17.    Peloton’s success has been remarkable. Men’s Health has called the Peloton Bike

“the best cardio machine on the planet.” USA Today has said it is “attractive, addictive, and

seriously whips you into shape.” And in a comparison of numerous at-home bikes, The Wall

Street Journal concluded that “the best bike, by far, was [the] Peloton.” The Peloton Bike also

received the award for the Best Health and Fitness Device at the Consumer Electronics Show in

2018.

        18.    The Peloton Bike retails for $2,245 (which includes the $250 delivery and set-up

fee), and owners pay $39 per month for a subscription to Peloton’s exclusive live and on-demand

cycling classes as well as other exercise content.

        19.    To date, Peloton has delivered more than 400,000 Peloton Bikes, building its

member base from zero to over 1.4 million in seven years. Its revenue has been growing rapidly

as a result. For example, in fiscal year 2017, Peloton’s revenue shot to over $200 million, and in



                                                 8
  Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 9 of 47 PageID #: 9




fiscal year 2018, doubled to over $400 million. In fiscal year 2019, its revenue more than

doubled again to approximately $900 million. Peloton has also won countless awards, including

being named one of the World’s Most Innovative Companies by Fast Company in 2016, 2017,

and 2018.

 II.      The Journey to Inventing the Peloton Bike

          20.   When Peloton was founded, fitness studios that provided studio cycling classes

were becoming tremendously popular. SoulCycle and Flywheel had multiple studios and were

growing quickly. While in-studio classes provide a great consumer experience, they start at

predetermined times, have limited space per class, and require travel from one’s home or office

to the gym or studio. As a result, in-studio classes can be hard to attend for people with busy

work schedules and families at home. Peloton founder and CEO John Foley was one of those

people.

          21.   After realizing that countless others undoubtedly faced the same challenge, Foley

began a journey that would see him and his co-founders invent a new category of fitness

equipment that provides the immersive, fun and competitive in-studio cycling class experience,

at home, at any time.

          22.   Having majored in industrial engineering at Georgia Tech and studied business at

Harvard Business School, Foley then worked in e-commerce and the tech industry for over a

decade.     This gave him a sophisticated understanding of the intersection of business and

technology. However, Foley also realized that this project would require a team of smart, savvy

leaders in different fields to bring it to consumers, and he therefore started recruiting other tech

leaders who shared his vision.




                                                 9
 Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 10 of 47 PageID #: 10




       23.      Foley approached his friend and former colleague, Tom Cortese. Over dinner one

night in 2011, Foley told Cortese that he believed there was a large, untapped market available if

they could just figure out how to allow cycling fans to access the best instructors and have the

same in-studio cycling class experience at any time, no matter where they live and no matter how

busy their schedules are. Cortese joined and has been with Peloton ever since, currently serving

as Peloton’s Chief Operating Officer.

       24.      Foley also recruited three others, whom he asked to join as co-founders of

Peloton: technological guru Yony Feng, to help design and build a prototype Peloton Bike;

accomplished lawyer Hisao Kushi, to guide Peloton through the legal and regulatory framework

facing the new start-up; and internet executive Graham Stanton, to help guide the company

through its early years and to manage the company’s finances and growth strategy. All accepted,

and all three remain with the company to this day. Feng is Peloton’s Chief Technology Officer;

Kushi is Chief Legal Officer; and Stanton is Senior Vice President, Business Intelligence.

       25.      With a strong team in place, Foley was able to raise an initial seed investment of

$350,000, along with $50,000 of Foley’s own savings. This allowed the young start-up to rent a

small office in New York City from which it could develop and create the first prototype of the

Peloton Bike.

       26.      To create the product that Foley and his co-founders envisioned, Peloton

developed (1) a visually appealing, sturdy, and technologically advanced exercise bike; (2) a

large, sweatproof, wi-fi enabled, high-definition touchscreen tablet computer; (3) an attractive

graphical user interface and related software and backend systems to integrate the bike and tablet

and track, synchronize, and dynamically display metrics; and (4) first-in-class cycling class




                                                10
 Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 11 of 47 PageID #: 11




content and the systems to deliver that content. All equipment needed to be durable, lasting for

years with minimal maintenance.

       27.     Start-ups will often partner with existing companies and products to custom build

as little as possible. Building one’s own hardware and software from the ground up, by contrast,

is expensive, time-consuming, and fraught with obstacles, known and unknown. However,

Peloton quickly discovered that no existing exercise bike had all the required characteristics:

sturdiness, durability, visual appeal, efficiency, and technological capability. Nor was there any

touchscreen tablet available on the market at the time that would suit its needs. In addition,

Peloton realized that no existing products could communicate with the bike hardware, or track

and analyze rider performance in the way they envisioned. In short, the Peloton team quickly

realized that it would need to create virtually the entire Peloton Bike from scratch, including the

bike and tablet.

       28.     What’s more, to effectuate its vision of immersive studio cycling at home, Peloton

also needed to figure out how to integrate the hardware (the bike and tablet) with its own

software so that the software could communicate with the bike to track performance metrics,

store those metrics, communicate those metrics back to the rider, and transfer those metrics to a

server so that they could be synchronized and compared with other riders’ metrics.

       29.     The technological challenges and unknowns faced by the Peloton team also

created a significant financial hurdle. Investors viewed Peloton’s plan to build its own hardware

and software as too costly and difficult and were not convinced there was a viable market for the

product. Dozens of investors declined the opportunity to invest in Peloton because they were not

willing to take the risk of investing up front in such a new and challenging endeavor.




                                                11
 Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 12 of 47 PageID #: 12




       30.     Yet through research, ingenuity, and persistence, Peloton pushed on, working

with partners to design and produce the necessary high-tech, sleek bikes and tablets. To build

the first prototype, Feng, the Chief Technology Officer then and now, created a proof-of-concept

apparatus using a standard off-the-shelf stationary bike, then attaching sensors with a stripped-

down electronics board running the Android-based app that he developed and a computer

monitor rigged to the bike’s front. As reflected in the images below, Feng went through a long,

iterative process to develop a successful hardware-software integration.

The Peloton Bike’s software and tablet evolution:




                                               12
 Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 13 of 47 PageID #: 13




The early version of the Peloton Bike, left, compared with the version at launch, right:




Testing the software with an early version of Peloton Bike:




       31.     This unique hardware-software integration would be the basis for Peloton’s

prototype. By the end of 2012, after a year of hard work, investment, and development, Peloton

finally had a prototype in hand to show investors.

       32.     But even after the Peloton Bike prototype was created, Peloton struggled to raise

money. Foley was rejected by countless investment firms and was repeatedly told that the

Peloton Bike simply was not viable.

       33.     Yet, despite these repeated rejections, Foley persisted—continuing to take risks,

making significant personal investments, and dedicating more time to developing the best


                                                13
 Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 14 of 47 PageID #: 14




possible product. He did so because of his belief that at-home fitness equipment simply had not

evolved at the same pace that group exercise classes had. He continued to pitch potential

investors until, many rejections later, he found a group of investors who believed in Peloton and

invested the first $10 million that helped launch the Peloton Bike on a commercial scale.

III.   Bringing Peloton to Market

       34.     After extensive troubleshooting and tinkering on the early prototype bikes,

Peloton was ready to take the important step of manufacturing the bike and selling it to its first

customers. Peloton held a Kickstarter campaign with the goal of raising enough capital to start

manufacturing the bike. As Peloton explained, “[t]his involves building the ‘tools’ required to

create each unique part (yes, we first have to build the machinery that will build the bike!) and

pre-purchasing lots of steel, aluminum, plastic, microchips (there are 17 in our console alone).”

The Kickstarter campaign raised more than $300,000 and generated initial orders for 188 bikes.

       35.     Sales were initially slow—188 bikes was far from Peloton’s target, and far from

the demand Foley knew existed. Peloton was a new product, and people were wary of the

product and how useful it would be. Like every other phase of their journey, Peloton was not

going to become successful overnight—they were going to have to work for it. With intensive

and creative marketing efforts, including pop-up stores in choice locations, and as word of mouth

spread, sales began to pick up.

       36.     In January 2014, two years after Peloton was founded, the first bikes were

delivered to customers.

       37.     By now, Peloton has designed in-house almost everything that other companies

outsource to third parties: hardware, software, content, and logistics. As an Inc.com article

reported, “Peloton has defied every aspect of the prevailing startup ethos of doing it fast and




                                               14
 Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 15 of 47 PageID #: 15




lean, buying off the shelf, partnering and, above all, custom-building as little as possible.” It

likewise described that Foley and his team have “[broken] every rule” to make Peloton a reality.

       38.     It is a reality that continues to grow and exceed expectations.      In its latest

investment round, Peloton raised $550 million at a valuation of $4.15 billion; and on September

26, 2019, Peloton debuted on the NASDAQ stock exchange as a publicly traded company.

Peloton continues to expand both nationally and internationally. Most importantly, Peloton is

doing what it set out to do—allowing more people than ever to participate in high-energy, state-

of-the-art exercise on their own schedule, and empowering members to maximize their most

valuable resource: time.

IV.    Peloton Patents Its Intellectual Property

       39.     After years of investment, risk, and innovation, Peloton has become a leader of

the at-home fitness world. To protect its intellectual property, Foley and the Peloton inventor

team have applied for, and received, patents covering their inventions.

       40.     United States Patent No. 10,022,590 titled Exercise System and Method, was duly

and lawfully issued on July 17, 2018. A true and correct copy of the ’590 Patent is attached

hereto as Exhibit 1.

       41.     United States Patent No. 10,322,315 titled Exercise System and Method, was duly

and lawfully issued on June 18, 2019. A true and correct copy of the ’315 Patent is attached

hereto as Exhibit 2.

       42.     Plaintiff Peloton Interactive, Inc. is the current owner of all rights, title, and

interest in and to the Peloton Patents. Peloton and the Peloton Bike practice the Peloton Patents

because, among other things, the Peloton Bike has a plurality of sensors operable to detect

activity by a first user and generate first user performance parameters; the Peloton Bike further




                                                15
 Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 16 of 47 PageID #: 16




includes a local processing system that is operable to: (1) display live and archived cycling

classes, (2) track the first user performance parameters at a particular point in a selected cycling

class, and (3) display at least one first user performance parameter and at least one of a plurality

of second user performance parameters received via a digital communication network from a

second local processing system at a second location such that at least one of the first user

performance parameters at the particular point in the selected cycling class and at least one of the

second user performance parameters at the same point in the selected cycling class are presented

for comparison on a display screen.        Peloton thus manufactures and sells a commercial

embodiment of the Peloton Patents, including the Peloton Bike with a subscription to Peloton

classes.

 V.    The Peloton Patents Recite Inventive Concepts That Were Not Well Understood,
       Routine, Or Conventional At The Time

       43.     As described herein, the Peloton Bike is a revolutionary, category-creating device

that: (1) solved significant problems in the prior art; (2) has experienced immense market

success; (3) has received near-universal market praise; (4) overcame significant technological

hurdles in development; and (5) overcame initial market reservations about its viability. The

Peloton Bike implemented inventive concepts that were not well-understood, routine, or

conventional at the time it was developed. These inventive concepts are incorporated into the

claims of the Peloton Patents. It is the inventive concepts contained in the claims of the Peloton

Patents that account for the Peloton Bike’s leaps-and-bounds improvement over the prior art, as

well as its resulting economic success.

       44.     For example, Claim 1 of the ’590 Patent describes a system with a user interface

operable to “display live and archived cycling class content to a first user at a first location.”

Similarly, Claims 1 and 11 of the ’315 Patent describe a method comprising displaying or



                                                16
 Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 17 of 47 PageID #: 17




providing “information about live and archived exercise classes that can be accessed by a first

user via a digital communication network on a display screen at a first location.” These claim

limitations alone describe an unconventional improvement over the prior art.

       45.     Prior art cycling classes only allowed users to participate in live classes; they did

not offer any capability for a user to access and participate in archived cycling classes. With

respect to home bikes, on the other hand, it was not well-understood, routine, or conventional to

provide a home bike with networked access to a live cycling class. Nor was it well-understood,

routine, or conventional to provide a home bike with both: (1) networked access to live cycling

classes; and (2) networked access to archived cycling classes.

       46.     According to Claim 1 of both the ’590 and the ’315 Patents, and Claim 11 of the

’315 Patent, a user can select from one of the available live and archived cycling classes and

receive that selection output to the user’s display screen. This functionality is what allowed one

of the significant advances over the prior art, as described elsewhere in this Complaint. It is this

functionality that allows a user to exercise in the most competitive, interactive way possible,

while also balancing the user’s need for flexible scheduling of his or her workouts.

       47.     With access to either live or archived classes, the user can, at his or her own

discretion, decide whether it is more important to that user, on a given day, to start a workout at

the instant he or she wants (in which case the user will select an archived class), or whether it is

more important to the user’s motivation to exercise to be able to participate live with other class

participants (in which case the user will select a live class). Offering this flexibility was a major

advancement over both live classes and at-home bikes in existence at that time.

       48.     Claim 1 of the ’590 Patent also describes tracking performance parameters for the

user, as well as performance parameters for a second, remote user, and presenting “at least one of




                                                 17
 Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 18 of 47 PageID #: 18




[the] first user performance parameters at the particular point in the selected cycling class and at

least one of the second user performance parameters at the same point in the selected class . . .

for comparison on the display screen at the first location.” Claims 1 and 11 of the ’315 Patent

have a similar limitation. These limitations, which apply whether a user has selected a live or an

archived class, describe an inventive way to give a user, cycling in his or her own home, access

to a motivating feeling of competition with another rider.

        49.     For a live class, as described in Claim 1 of both Peloton Patents, and Claim 11 of

the ’315 Patent, the user’s performance parameters are presented on the user’s screen along with

at least one performance parameter of another remote user taking the class at the same time,

wherever he or she may be. This functionality—which gives the user the ability to compete in a

live class with another user participating in that same class from anywhere around the globe—

was not well-understood, routine, or conventional at the time of the invention of the Peloton

Patents, and helped solve the “rider boredom” problem set forth elsewhere in this Complaint.

        50.     For an archived class, as described in both Claims 1, and Claim 11 of the ’315

Patent, at least one performance parameter of another user who has taken the class previously is

time-shifted so that it is presented to the user, together with at least one of the user’s own

performance parameters, for comparison “at the same point in the selected cycling class.” This

functionality—which gives the user the ability to compete in real-time with another user who

participated in that class previously, no matter where or when that other user participated—was

revolutionary at the time, and also helped solve the “rider boredom” problem. In this way, the

system and method described in both Claims 1 offered multiple inventive ways for a user to be

motivated to exercise by competition with a remote user, and was thus an immense improvement

over the prior art.




                                                18
 Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 19 of 47 PageID #: 19




       51.     The dependent claims of the Peloton Patents add additional inventive concepts to

the independent claims that offer further unconventional improvements over the prior art, both

alone and in combination, and result in increased motivation and engagement for riders. For

example, Claim 15 of the ’590 Patent adds the concept of “generating a leaderboard from the

class participant content and the plurality of first user parameters, the leaderboard representing

performance parameters at the same point in the selected cycling class; and displaying the

leaderboard on the display screen at the first location.” Claims 6 and 16 of the ’315 Patent are

similar. Again, this claim language applies whether the user has selected a live or an archived

class. And the idea of having a system that could perform this leaderboard functionality for both

a live and an archived class was revolutionary.

       52.     As another example, Claim 16 of the ’590 Patent and Claims 7 and 17 of the ’315

Patent claim “class participant content” that “comprises live and archived class participant

content.” These claims add to the underlying claims the additional inventive concept that live

and archived content would appear on the same leaderboard. No other cycling system was

doing this at the time of the invention of the Peloton Patents.

       53.     As yet another example, Claim 17 of the ’590 Patent, and Claims 7 and 17 of the

’315 Patent, further describe the time-synchronization aspect of the Peloton Patents, and Claim

18 of the ’590 Patent, and Claims 8 and 18 of the ’315 Patent, describe how that aspect can be

implemented: by ensuring that the class participant content “comprises a start signal indicating a

starting point of the cycling class,” and that the “class participant content is synchronized to the

start signal for data comparison.” Once more, these concepts were not well-understood, routine,

or conventional at the time of invention of the Peloton Patents.




                                                  19
 Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 20 of 47 PageID #: 20




       54.     Finally, several of the claims of the Peloton Patents describe particular types of

information to be displayed on the user interface, and particular ways in which that information

should be displayed. See ’590 Patent, Claims 6-8, 12-13, 20; ’315 Patent, Claims 3, 10, 13, 20.

These concepts, as well, were not well-understood, routine, or conventional at the time of

invention of the Peloton Patents.

VI.    Echelon Infringes With Its Copycat Products

       55.     Because of Peloton’s success, competitors have brought copycat products to

market that infringe Peloton’s intellectual property. In February 2018, Echelon announced its

intent to launch a product similar to the Peloton Bike, called the Connect bike. The Connect bike

was the precursor to the Smart Connect EX1, EX3, EX5, and EX5s bikes (the “Echelon Bikes”),

which Echelon sells as of the filing of this Complaint.

       56.     With the Echelon Bikes, Echelon infringes the Peloton Patents by, among other

things, displaying live and archived cycling class content to remote riders, tracking a remote

rider’s performance, and comparing that remote rider’s performance against the performance of

other remote riders. Echelon markets the Echelon Bikes by informing riders that they can “JOIN

US FOR LIVE STUDIO FITNESS FROM THE COMFORT OF HOME.” Echelon further

advertises its “New On Demand content added daily so you can work out where you want, when

you want.”




                                                20
 Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 21 of 47 PageID #: 21




              Above: Images of the Echelon Bikes and its copycat leaderboard.

      57.    As of the filing of this Complaint, Echelon makes, uses, sells, and offers for sale

the Echelon Bikes, which infringe the Peloton Patents. The Echelon Bikes, like the Peloton

Bike, allow riders to access live and archived cycling classes from the comfort of home,



                                             21
 Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 22 of 47 PageID #: 22




including tracking, synchronizing, and comparing performance metrics of the at-home rider and

other riders.

        58.     Echelon actively markets and sells the Echelon Bikes to customers across the

United States, including in the District of Delaware.

        59.     The Echelon Bikes are also available for purchase on Echelon’s website. Echelon

offers to ship the Echelon Bikes to any location in the continental United States and elsewhere,

including the United Kingdom, Canada, and Mexico.

        60.     Echelon and the Echelon Bikes satisfy each and every limitation of one or more

claims of the ’590 and ’315 Patents.

VII.    Echelon’s Blatant Infringement of Peloton’s Famous Trademarks and Trade Dress

        61.     Echelon has also infringed and continues to infringe on Peloton’s trademark and

trade dress rights.

        62.     Peloton owns a federal trademark registration for the wordmark “PELOTON”

(U.S. Reg. No. 4,580,888) (“Peloton Mark”) for, among other things, stationary exercise bicycles

and software monitoring and analyzing various parameters associated with the operation of a

bicycle. Peloton also owns a federal trademark registration for the wordmark “P” (U.S. Reg. No.

5,810,590) (“‘P’ Mark”), which comprises a stylized letter “P” represented at an angle and

embedded within a crank-shaft design:




The registrations for the Peloton Mark and “P” Mark are valid and in full force and effect.



                                                22
 Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 23 of 47 PageID #: 23




       63.     Peloton has devoted significant marketing, advertising, and financial resources

and creative energies towards the Peloton Mark and the stylized “P” Mark. To reinforce the

brand significance of the Peloton name and logo, Peloton’s advertising and promotional efforts

have established a connection in the minds of consumers between the wordmarks and Peloton’s

state-of-the-art, transformative fitness products. As a result of these marketing and creation

efforts, the Peloton Mark and “P” Mark are known nationally and internationally, and are widely

recognized by the consuming public as a designation of source for Peloton Bikes and Peloton

fitness products. Peloton has more than 1.4 million members; and the company has acquired

fame well beyond its userbase such that the Peloton Mark and “P” Mark are well known by the

general public. The Peloton Bike has received near-universal adulation, with Men’s Health

naming it “the best cardio machine on the planet.” Peloton has become the market leader and is

one of the most recognized brands for health and fitness. As a result of extensive advertising, the

state-of-the art quality of the Peloton Bike, and Peloton’s commercial success, the Peloton Mark

and “P” Mark have acquired significant goodwill and secondary meaning among the general

public. The marks are distinctive and famous.

       64.     Peloton has also spent substantial resources in promoting the Peloton Bike using

the distinctive look and feel of the product stemming from, among other things, the red, white,

and black color scheme; white block lettering of the Peloton Mark; precise character spacing;

location of the stylized “P” Mark; and aesthetic layout of both the Peloton Bike and the graphical

user interface.   The combination of these nonfunctional elements and the total stylized

appearance of the Peloton Bike is distinctive and identifies the bike as a Peloton product. In

virtually all of its advertisements, Peloton displays the distinct Peloton Bike and uses the black,

red, and white color scheme with white block lettering and the “P” Mark to the left of the




                                                23
 Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 24 of 47 PageID #: 24




company name. The Peloton website, for example, uses the same color scheme and fonts with

the Peloton Bike and its distinct trade dress prominently featured throughout. Like the Peloton

Mark and “P” Mark, the distinctive Peloton trade dress has acquired significant goodwill and

secondary meaning among the general public. The distinctive look and feel of the Peloton Bike

is known nationally and internationally, and is widely recognized by the consuming public as a

designation of source for Peloton Bikes and Peloton fitness products.

       65.     Echelon directly competes with Peloton.         In order to compete, Echelon

purposefully embarked on an advertising and promotional campaign that uses a confusingly

similar logo and a sound-a-like wordmark, and blatantly copied the distinctive look and feel of

the Peloton Bike. Echelon willfully and intentionally infringed on Peloton’s trademarks and

trade dress in order to lure in and deceive confused customers into initially thinking that the

Echelon Bikes are Peloton Bikes, or that the Echelon Bikes are in some way connected with,

sponsored by, or affiliated with Peloton. Instead of spending resources and developing its own

marketing and distinct look, Echelon chose to free ride on the goodwill and secondary meaning

Peloton has worked tremendously hard to develop.            Echelon commenced its unlawful

infringement after the Peloton Mark, “P” Mark, and Peloton Bike trade dress became famous;

indeed, Echelon purposefully sought to benefit from Peloton’s fame and to dilute the goodwill

associated with Peloton’s marks and trade dress.

       66.     In order to lure in confused customers and trade off the goodwill and reputation

created and maintained by Peloton in the Peloton Mark and “P” Mark, Echelon has used and

continues to use a sound-alike mark and a confusingly similar logo with a stylized letter “E”

represented at an angle, both of which are likely to cause confusion, mistake, or deception in

violation of Section 32(a) of the Lanham Act:




                                                24
 Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 25 of 47 PageID #: 25




Echelon began using its unlawful marks after Peloton and the Peloton Mark and “P” Mark

acquired nationwide fame among the general public. Echelon’s acts described herein constitute

infringement of one or more of Peloton’s federally registered trademarks and have caused, and

will continue to cause, serious irreparable injury to Peloton and to the goodwill associated with

the Peloton Mark and “P” Mark.

       67.     In addition to use of the unlawful marks, Echelon has purposefully copied the

Peloton Bike’s distinct trade dress in order to lure in and deceive customers. The Echelon Bikes

imitate Peloton down to the placement of the similar round logo to the left of the company name

in white block lettering and its use of a nearly identical red, white, and black color scheme, as

shown below:




Peloton used its trade dress extensively and continuously before Echelon began advertising,

promoting, selling, offering to sell, and distributing its infringing bikes, and the trade dress

acquired fame among the general public before Echelon commenced its unlawful activities.




                                               25
 Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 26 of 47 PageID #: 26




       68.     The Echelon user interface (shown below, top) also copies the look and feel of the

Peloton classes (shown below, bottom), including but not limited to its use of similar font, font

size, coloring, and layout:




                                               26
 Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 27 of 47 PageID #: 27




       69.     Echelon’s blatant imitation of Peloton’s trade dress is pervasive.         Echelon

purposefully lures in confused customers at every marketing touch point. By using images of the

copycat Echelon bike in advertisements and social media posts, Echelon confuses customers and

generates deceptive initial interest in their products. Echelon targets the same consumers and

uses the same marketing touch points, including a website that is a blatant rip-off of the Peloton

design. This includes, but is not limited to, the website headers, color scheme, font, spacing, and

layout. For example, the website header uses the same logo placement, white block lettering,

spacing, and icon images:




The Echelon website (shown in the images on the left below) even copies exact language from

the Peloton website (shown in the images on the right below). The Peloton website first used the

phrase “Never Ride Alone,” which Echelon now uses in a similar page with an identical view of

the Echelon Bike user interface:




                                                27
 Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 28 of 47 PageID #: 28




And in promoting its membership rates, Echelon uses language identical to the Peloton website.

Peloton first advertised on its website that “[w]ith the Peloton Membership, access every live and

on-demand Peloton class across your devices for $39/month.” Echelon now advertises in similar

font, color, spacing, and design layout that “[w]ith the Echelon Membership, access every live

and on-demand Echelon class across your devices for $39/month,” as shown below:




       70.     As a result of Echelon’s activities related to the infringing products, there is a

likelihood of confusion, mistake, or deception as to the source, affiliation, connection, or

association of Echelon’s bikes with Peloton, including by hooking customers at the initial point

of contact with the Echelon Bikes.

       71.     In fact, on August 28, 2019, The New York Times published an article that

recognized Echelon’s products as “a blatant knockoff, down to a round black logo,” of the




                                               28
     Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 29 of 47 PageID #: 29




 Peloton Bike.1 The New York Times further reported that Echelon’s Chief Executive Officer

 “acknowledged the similarities with Peloton but said Echelon’s models were more affordable.”

 And in one recent user comparison of the Echelon product to the Peloton Bike, an individual on

 Reddit.com wrote that “[e]ven the [Echelon] product font seems to be a bit of a ripoff of the

 peloton font.”

          72.     As a result of Echelon’s wrongful conduct, Peloton has been damaged and will

 continue to be damaged in an amount to be determined at trial. Among other harms, Echelon’s

 unlawful activities have diluted and continue to dilute Peloton’s famous trademarks and trade

 dress by associating Peloton’s famous trademarks and trade dress with Echelon’s products of

 inferior quality, and by impairing the distinctiveness of Peloton’s famous trademarks and trade

 dress.

VIII.     Echelon’s Campaign of False Advertising and Unfair Competition

          73.     After capturing confused customers with their unlawful activities, Echelon

 engages in a false advertising campaign to further undercut Peloton’s customer base. Echelon

 disseminated false and misleading information about the Echelon Bikes and the Peloton Bike

 throughout the country, including by misleading customers about the price of the parties’

 products, misrepresenting the breadth of Peloton’s class content, and deflating the number of

 instructors Peloton has while inflating Echelon’s own trainer base. As a result, Echelon unfairly

 stole customers from Peloton and attracted funding from investment firms that reportedly

 brought Echelon’s total valuation to over $100 million.

          74.     By way of example, Echelon has presented a page on its website (see

 https://web.archive.org/web/20190808215116/https://echelonfit.com/pages/compare-the-ex3-

 1
     See https://www.nytimes.com/2019/08/28/technology/peloton-ipo.html.



                                                29
 Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 30 of 47 PageID #: 30




and-peloton/) that purports to compare the Echelon Smart Connect EX3 Max Bike with the

Peloton Bike. A portion of that website is reproduced below:




       75.    That page, which Echelon has presented at that URL since at least as early as

August 1, 2019 – and, on information and belief, far longer – contains numerous false and

misleading statements about the Echelon and Peloton Bikes.

       76.    For example, Echelon’s purported price comparison misleads customers by

claiming that Peloton’s “Bike Price” is $1,995, while Echelon’s “Bike Price” is $999. In fact,

Peloton’s “Bike Price” includes the actual bike and a display, while Echelon’s stated “Bike

Price” includes only the actual bike – customers are forced to use their own display device at a




                                              30
 Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 31 of 47 PageID #: 31




cost of hundreds of additional dollars, or to pay anywhere from $1,639.98 to $2,199 for a version

of the Echelon Bike that includes a touchscreen.

        77.     Echelon’s own customer reviews show disappointment in Echelon’s deceptive

advertising:




        78.     As another example, Echelon misrepresents that Peloton’s workouts are limited to

“‘After The Ride’ + Cross Training Workouts” while Echelon purportedly provides “‘FitPass’

featuring trainer-led yoga, stretching, pre-and-post workout sessions, meditations, pilates,

kickboxing, Zumba and more.” In truth, Peloton workouts also include instructor-led yoga,

stretching, pre- and post-workout content, meditation, bootcamp, indoor and outdoor running and

walking, and more. Indeed, all Peloton members are provided with access to the Peloton Digital

app, which includes a full suite of workouts across ten fitness disciplines.

        79.     As yet another example, Echelon falsely claims that Peloton only has 12

instructors; in fact, Peloton has 29 and counting. Echelon also falsely claims that it has over 30

trainers; in fact, its website lists only 17 total trainers across all disciplines.

        80.     By way of another example, Echelon has presented a post on its Facebook page

that purports to compare the Echelon Smart Connect EX3 Max Bike with the Peloton Bike. A

portion of that post is reproduced below:




                                                    31
 Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 32 of 47 PageID #: 32




       81.       That page, which Echelon presented on Facebook since at least as early as

February 18, 2019, contains numerous false and misleading statements about the Echelon and

Peloton Bikes.

       82.       For example, Echelon misrepresents the price of Peloton’s product by claiming

the bike is $2,245 and shipping and assembly is $250. In fact, the $2,245 price includes the

Peloton Bike, display, and is inclusive of shipping and assembly. Echelon, meanwhile, charges

extra for both shipping and assembly. Moreover, Echelon falsely claims that the price of

Peloton’s subscription is “$39/mo for annual sub.” when in fact the pricing is $39 per month

regardless of the length of subscription and with no minimum commitment.

       83.       As described above, Echelon also misrepresents that Peloton’s workouts are

limited to “‘After The Ride’ + Cross Training Workouts.” In truth, Peloton workouts also



                                               32
 Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 33 of 47 PageID #: 33




include instructor-led yoga, stretching, pre- and post-workout content, meditation, bootcamp,

indoor and outdoor running and walking, and more. Indeed, all Peloton members are provided

with access to the Peloton Digital app, which includes a full suite of workouts.

                                                COUNT I

                                   (Infringement of the ’590 Patent)

       84.     Peloton incorporates all other allegations in this Complaint.

       85.     Peloton is the owner of all rights, title, and interest in the ’590 Patent. The ’590

Patent issued on July 17, 2018.

       86.     The ’590 Patent is valid and enforceable.

       87.     In violation of 35 U.S.C. § 271(a), Defendant Echelon makes, uses, offers to sell,

and sells the Echelon Bikes and thereby directly infringes the ’590 Patent. Echelon and the

Echelon Bikes satisfy each and every limitation of one or more claims of the ’590 Patent.

Echelon thereby directly infringes one or more claims of the ’590 Patent.

       88.     In violation of 35 U.S.C. § 271(b), Defendant Echelon advertises to, sells to,

encourages, and instructs third parties, including Echelon customers, to use the Echelon Bikes.

Echelon thereby induces infringement of one or more claims of the ’590 Patent, by having the

specific intent to induce its customers to infringe the ’590 Patent, despite knowledge that its

customers’ acts infringe the ’590 Patent.

       89.     In violation of 35 U.S.C. § 271(c), Defendant Echelon offers to sell and sells

material components of the ’590 Patent that have no substantial non-infringing use and constitute

a material part of the invention, to third parties including Echelon’s customers. Echelon has

thereby contributorily infringed and continues to contributorily infringe one or more of the

claims of the ’590 Patent, despite its knowledge that material components are especially made or




                                                33
 Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 34 of 47 PageID #: 34




especially adapted for use in an infringement of the ’590 Patent, and not a staple article or

commodity of commerce suitable for substantial non-infringing use.

       90.     Echelon’s ongoing infringement is willful with notice of the ’590 Patent and its

infringement as of the filing of this Complaint.

       91.     Peloton has suffered and continues to suffer damages and irreparable harm

because of Defendant Echelon’s past and ongoing infringement.

       92.     Unless Defendant Echelon’s infringement is enjoined, Peloton will continue to be

damaged and irreparably harmed.

       93.     Peloton meets the criteria for, and is entitled to, temporary, preliminary, and

permanent injunctive relief.

                                               COUNT II

                                   (Infringement of the ’315 Patent)

       94.     Peloton incorporates all other allegations in this Complaint.

       95.     Peloton is the owner of all rights, title, and interest in the ’315 Patent. The ’315

Patent issued on June 18, 2019.

       96.     The ’315 Patent is valid and enforceable.

       97.     In violation of 35 U.S.C. § 271(a), Defendant Echelon makes, uses, offers to sell,

and sells the Echelon Bikes and thereby directly infringes the ’315 Patent. Echelon and the

Echelon Bikes satisfy each and every limitation of one or more claims of the ’315 Patent.

Echelon thereby directly infringes one or more claims of the ’315 Patent.

       98.     In violation of 35 U.S.C. § 271(b), Defendant Echelon advertises to, sells to,

encourages, and instructs third parties, including Echelon customers, to use the Echelon Bikes.

Echelon thereby induces infringement of one or more claims of the ’315 Patent, by having the




                                                   34
 Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 35 of 47 PageID #: 35




specific intent to induce its customers to infringe the ’315 Patent, despite knowledge that its

customers’ acts infringe the ’315 Patent.

       99.      In violation of 35 U.S.C. § 271(c), Defendant Echelon offers to sell and sells

material components of the ’315 Patent that have no substantial non-infringing use and constitute

a material part of the invention, to third parties including Echelon’s customers. Echelon has

thereby contributorily infringed and continues to contributorily infringe one or more of the

claims of the ’315 Patent, despite its knowledge that material components are especially made or

especially adapted for use in an infringement of the ’315 Patent, and not a staple article or

commodity of commerce suitable for substantial non-infringing use.

       100.     Defendant Echelon’s ongoing infringement is willful with notice of the ’315

Patent and its infringement as of the filing of this Complaint.

       101.     Peloton has suffered and continues to suffer damages and irreparable harm

because of Defendant Echelon’s past and ongoing infringement.

       102.     Unless Defendant Echelon’s infringement is enjoined, Peloton will continue to be

damaged and irreparably harmed.

       103.     Peloton meets the criteria for, and is entitled to, temporary, preliminary, and

permanent injunctive relief.

                                               COUNT III

              (Trademark Infringement in Violation of Section 32(1) of the Lanham Act)

       104.     Peloton incorporates all other allegations in this Complaint.

       105.     Peloton is owner of the federally registered Peloton Mark and federally registered

“P” Mark, which Peloton uses in connection with the promotion and sale of state-of-the-art




                                                 35
 Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 36 of 47 PageID #: 36




fitness products. The registrations for the Peloton Mark and “P” Marks are valid and in full force

and effect.

       106.     Echelon directly competes with Peloton and has intentionally, knowingly,

deliberately, and willfully infringed and continues to intentionally, knowingly, deliberately, and

willfully infringe on the Peloton Mark and the “P” Mark in connection with the sale of the

Echelon Bikes. Echelon intentionally, knowingly, deliberately, and willfully uses in commerce

marks and logos that are likely to cause confusion, mistake, or deception in violation of Section

32 of the Lanham Act. Echelon intended to use marks likely to cause confusion among the

consuming public in order to lure in and deceive customers into thinking their similar product is

a Peloton Bike or is otherwise affiliated with, sponsored by, or connected with Peloton. Echelon

targets the same customers as Peloton through similar marketing channels.

       107.     As a direct and proximate cause of the infringing acts, Peloton has been damaged

in an amount to be determined at trial. Peloton has suffered and continues to suffer immediate

and irreparable injury for which it has no adequate remedy at law. Peloton is entitled to

injunctive relief and up to three times its actual damages and/or an award of Defendant

Echelon’s profits, as well as costs and Peloton’s reasonable attorneys’ fees under 15 U.S.C.

§§ 1116–17.

                                                COUNT IV

              (Trade Dress Infringement in Violation of Section 43(a) of the Lanham Act)

       108.     Peloton incorporates all other allegations in this Complaint.

       109.     The Peloton Bike has a distinctive look and feel stemming from, among other

things, the red, white and black color scheme, white block lettering of the Peloton Mark, precise

character spacing, location of the stylized round “P” Mark, and aesthetic layout of both the




                                                 36
 Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 37 of 47 PageID #: 37




Peloton Bike and the graphical user interface. Purchasers of the Peloton Bike associate this

distinctive appearance and overall feel with Peloton. The combination of these nonfunctional

elements, among others, and the total impression of the Peloton Bike is sufficiently distinctive

that this trade dress identifies Peloton as the source of the Peloton Bike. Peloton has also

extensively advertised the Peloton Bike.       Through that extensive and continuous use and

promotion, the Peloton Bike’s trade dress has become a well-known indicator of the origin and

state-of-the-art quality of Peloton Bikes and has acquired secondary meaning. The distinct trade

dress acquired secondary meaning before Echelon commenced its unlawful infringement.

       110.    Echelon has intentionally, knowingly, deliberately, and willfully infringed and

continues to intentionally, knowingly, deliberately, and willfully infringe on Peloton’s trade

dress rights through its blatant imitation of the Peloton Bike in interstate commerce. This

includes, but is not limited to, the use of the same color scheme, white block lettering, location of

the similar marks on the bike frame, and aesthetic layout of the Echelon Bike and the graphic

user interface (which uses the similar fonts, color, and layout). Echelon’s copycat products are

likely to cause confusion, mistake, or deception as to the source, affiliation, connection, or

association of Echelon’s bikes with Peloton. This includes the confusion, mistake, or deception

that creates initial customer interest in the Echelon Bikes.

       111.    As a result of Echelon’s infringement of Peloton’s trade dress, Peloton has

suffered substantial damages, as well as the continuing loss of the goodwill and reputation

established by Peloton in its trade dress. Peloton has suffered and continues to suffer immediate

and irreparable injury for which it has no adequate remedy at law. Peloton is entitled to

injunctive relief and up to three times its actual damages and/or an award of Defendant




                                                 37
 Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 38 of 47 PageID #: 38




Echelon’s profits, as well as costs and Peloton’s reasonable attorneys’ fees under 15 U.S.C.

§§ 1116–17.

                                           COUNT V

  (Trademark and Trade Dress Dilution in Violation of Section 43(c) of the Lanham Act)

       112.    Peloton incorporates all other allegations in this Complaint.

       113.    The Peloton Mark, “P” Mark, and Pelton Bike trade dress are famous and entitled

to protection under Section 43(c) of the Lanham Act. Each of the Peloton Mark, “P” Mark, and

Peloton Bike trade dress is widely recognized by the general consuming public of the United

States as a designation of the source of Peloton and Peloton’s state-of-the-art health and fitness

products. Through extensive and continuous advertising and promotion, the Peloton Mark, “P”

Mark, and Peloton Bike trade dress acquired fame nationwide among the general public and

acquired secondary meaning before Echelon commenced its unlawful use of Peloton’s trade

dress and unlawful marks in connection with the infringing Echelon Bikes.

       114.    Due to Echelon’s willful and knowing unlawful conduct, Echelon is likely to

dilute, has diluted, and continues to dilute Peloton’s marks and trade dress by and not limited to

blurring the public’s exclusive association of Peloton’s famous marks and trade dress with

Peloton’s products, by lessening the capacity of Peloton’s famous marks and trade dress to

distinguish Peloton’s products, and by associating Peloton’s famous marks and trade dress with

lesser quality Echelon Bikes.

       115.    As a result of Echelon’s infringement of Peloton’s trade dress, Peloton has

suffered substantial damages, as well as the continuing loss of the goodwill and reputation.

Peloton has suffered and continues to suffer immediate and irreparable injury for which it has no

adequate remedy at law. Peloton is entitled to injunctive relief and actual damages and/or an




                                                38
 Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 39 of 47 PageID #: 39




award of Defendant Echelon’s profits, as well as costs and Peloton’s reasonable attorneys’ fees

under 15 U.S.C. §§ 1116–17.

                                           COUNT VI

  (Trademark and Trade Dress Dilution in Violation of DTA, 6 Del. Code § 3313, et seq.)

       116.    Peloton incorporates all other allegations in this Complaint.

       117.    The Peloton Mark, “P” Mark, and Pelton Bike trade dress are famous and entitled

to protection under the Delaware Trademark Act. Each of the Peloton Mark, “P” Mark, and

Peloton Bike trade dress is widely recognized by the general consuming public of the United

States as a designation of the source of Peloton and Peloton’s state-of-the-art health and fitness

products. Through extensive and continuous advertising and promotion, the Peloton Mark, “P”

Mark, and Peloton Bike trade dress acquired fame nationwide among the general public and

acquired secondary meaning before Echelon commenced its unlawful use of Peloton’s trade

dress and unlawful marks in connection with the infringing Echelon Bikes.

       118.    Due to Echelon’s willful and knowing unlawful conduct, Echelon is likely to

dilute, has diluted, and continues to dilute Peloton’s marks and trade dress by and not limited to

blurring the public’s exclusive association of Peloton’s famous marks and trade dress with

Peloton’s products, by lessening the capacity of Peloton’s famous marks and trade dress to

distinguish Peloton’s products, and by associating Peloton’s famous marks and trade dress with

lesser quality Echelon Bikes.

       119.    As a result of Echelon’s infringement of Peloton’s trade dress, Peloton has

suffered substantial damages, as well as the continuing loss of the goodwill and reputation.

Peloton has suffered and continues to suffer immediate and irreparable injury for which it has no




                                                39
 Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 40 of 47 PageID #: 40




adequate remedy at law. Peloton will continue to suffer irreparable harm unless this Court

enjoins Echelon’s conduct.

                                          COUNT VII

              (False Advertising in Violation of Section 43(a) of the Lanham Act)

       120.    Peloton incorporates all other allegations in this Complaint.

       121.    After intentionally luring in customers with its unlawful marks and trade dress,

Defendant Echelon has made literally false and misleading statements of fact about both

Echelon’s and Peloton’s products in violation of 15 U.S.C. § 1125(a).           Those statements

misrepresent the nature, characteristics, and/or qualities of Echelon and Peloton and are

expressly false, impliedly false, or both. Echelon has misrepresented the pricing of the parties’

products. For instance, Echelon misrepresents the price of Peloton’s product by claiming the

bike is $2,245 and shipping and assembly is $250. In fact, the $2,245 price includes the Peloton

Bike, display, and is inclusive of shipping and assembly. Moreover, Echelon falsely claims that

the price of Peloton’s subscription is “$39/mo for annual sub.” when in fact the pricing is $39 per

month regardless of the length of subscription and with no minimum commitment. Echelon also

misrepresents the parties’ product offerings, falsely claiming that Peloton’s workouts are limited

to “‘After The Ride’ + Cross Training Workouts” and that Peloton only has 12 instructors while

Echelon has over 30—Peloton actually has 29, while Echelon has only 17 trainers featured on its

website.

       122.    Defendant Echelon has knowingly induced and/or caused third parties—including

customers that read Echelon’s false advertisements—to engage in additional acts of false

advertising by repeating Echelon’s false statements.




                                                40
 Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 41 of 47 PageID #: 41




       123.    Defendant Echelon knew or should have known that its advertising was false,

misleading, and deceptive.

       124.    Defendant Echelon’s false and misleading statements have deceived and have the

tendency to deceive a substantial segment of its intended audience about matters material to

purchasing decisions. Echelon’s violations have caused harm to the public and, unless restrained,

will further damage the public.

       125.    Peloton’s and Defendant Echelon’s products are offered in interstate commerce.

Similarly, Echelon’s false and misleading statements were and are made in commercial

advertising and promotion in interstate commerce.

       126.    Defendant Echelon’s violations have proximately harmed Peloton. As a result of

Echelon’s violations, Peloton has suffered and will continue to suffer damage to its business and

goodwill. Peloton has lost and will continue to lose sales and profits and incur increased

advertising and marketing costs.

       127.    Peloton’s immediate, irreparable injuries have no adequate remedy at law, and

Peloton is entitled to injunctive relief and up to three times its actual damages and/or an award of

Defendant Echelon’s profits, as well as costs and Peloton’s reasonable attorneys’ fees under 15

U.S.C. §§ 1116–17.

                                              COUNT VIII

                         (Violation of Delaware Common Law – Trade Libel)

       128.    Peloton incorporates all other allegations in this Complaint.

       129.    Defendant Echelon has made false and misleading statements of fact about both

Echelon’s and Peloton’s products. Those statements misrepresent the nature, characteristics,

and/or qualities of Echelon and Peloton and are expressly false, impliedly false, or both. As




                                                41
 Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 42 of 47 PageID #: 42




explained above, Echelon has misrepresented the pricing of the parties’ products. For instance,

Echelon misrepresents the price of Peloton’s product by claiming the bike is $2,245 and shipping

and assembly is $250. In fact, the $2,245 price includes the Peloton Bike, display, and is

inclusive of shipping and assembly. Moreover, Echelon falsely claims that the price of Peloton’s

subscription is “$39/mo for annual sub.” when in fact the pricing is $39 per month regardless of

the length of subscription and with no minimum commitment. Echelon also misrepresents the

parties’ product offerings, falsely claiming that Peloton’s workouts are limited to “‘After The

Ride’ + Cross Training Workouts” and that Peloton only has 12 instructors while Echelon has

over 30—Peloton actually has 29, while Echelon has only 17 trainers featured on its website.

       130.    Defendant Echelon has knowingly induced and/or caused third parties—including

customers that read Echelon’s false advertisements—to engage in additional acts of false

advertising by repeating Echelon’s false statements.

       131.    Defendant Echelon knew or should have known that its advertising was false,

misleading, and deceptive.

       132.    Defendant Echelon’s false and misleading statements have deceived and have the

tendency to deceive a substantial segment of its intended audience about matters material to

purchasing decisions. Echelon’s violations have caused harm to the public and, unless restrained,

will further damage the public.

       133.    Defendant Echelon’s violations have proximately harmed Peloton. As a result of

Echelon’s violations, Peloton has suffered and will continue to suffer damage to its business and

goodwill. Peloton has and will lose sales and profits and incur increased advertising and

marketing costs.




                                               42
 Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 43 of 47 PageID #: 43




       134.     Defendant Echelon has acted with oppression, fraud, or malice, entitling Peloton

to an award of punitive damages.

       135.     Defendant Echelon has acted willfully, in bad faith, and with malice. Unless

restrained, Echelon will continue to cause further irreparable competitive and commercial injury

to Peloton.

       136.     Peloton’s immediate, irreparable injuries have no adequate remedy at law, and

Peloton is entitled to injunctive relief and up to three times its actual damages and/or an award of

Defendant Echelon’s profits, as well as costs and Peloton’s reasonable attorneys’ fees.

                                                COUNT IV

           (Violation of Delaware Deceptive Trade Practices Act 6 Del. Code § 2531, et seq.)

       137.     Peloton incorporates all other allegations in this Complaint.

       138.     Defendant Echelon has made false and misleading statements of fact about both

Echelon and Peloton’s products. Those statements misrepresent the nature, characteristics, and/or

qualities of Echelon and Peloton and are expressly false, impliedly false, or both. As explained

above, Echelon misrepresents the price of Peloton’s product by claiming the bike is $2,245 and

shipping and assembly is $250. In fact, the $2,245 price includes the Peloton Bike, display, and

is inclusive of shipping and assembly. Moreover, Echelon falsely claims that the price of

Peloton’s subscription is “$39/mo for annual sub.” when in fact the pricing is $39 per month

regardless of the length of subscription and with no minimum commitment. Echelon also

misrepresents the parties’ product offerings, falsely claiming that Peloton’s workouts are limited

to “‘After The Ride’ + Cross Training Workouts” and that Peloton only has 12 instructors while

Echelon has over 30—Peloton actually has 29, while Echelon has only 17 trainers featured on its

website.




                                                 43
 Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 44 of 47 PageID #: 44




       139.    Echelon’s false and misleading statements constitute unfair deceptive trade

practices in violation of the Delaware Deceptive Trade Practices Act 6 Del. Code § 2531, et seq.,

and specifically including, for example, § 2532(a)(5), (8), and (12).

       140.    Defendant Echelon knew or should have known that its advertising was false,

misleading, and deceptive.

       141.    Defendant Echelon’s false and misleading statements have deceived and have the

tendency to deceive a substantial segment of its intended audience about matters material to

purchasing decisions.     Echelon’s violations have caused harm to the public and, unless

restrained, will further damage the public.

       142.    Peloton’s and Defendant Echelon’s products are offered in interstate commerce.

Similarly, Echelon’s false and misleading statements were and are made in commercial

advertising and promotion in interstate commerce.

       143.    Defendant Echelon’s violations have proximately harmed Peloton. As a result of

Echelon’s violations, Peloton has suffered and will continue to suffer damage to its business and

goodwill. Peloton has lost and will continue to lose sales and profits and incur increased

advertising and marketing costs.

       144.    Peloton’s immediate, irreparable injuries have no adequate remedy at law, and

Peloton is entitled to injunctive relief. On information and belief, Echelon has willfully engaged

in its deceptive trade practices and Peloton is entitled to costs and reasonable attorneys’ fees

pursuant to 6 Del. Code § 2533(b). In addition, pursuant to 6 Del. Code § 2533(c), Peloton is

entitled to treble the amount of its actual damages for Echelon’s violations of Delaware common

law and other statutes.




                                                44
 Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 45 of 47 PageID #: 45




                                         PRAYER FOR RELIEF

       WHEREFORE, Peloton respectfully asks that the Court enter judgment against

Defendant Echelon as follows:

       145.    That Defendant Echelon has infringed (either literally or under the doctrine of

equivalents) directly, jointly, and/or indirectly by way of practicing, inducing or contributing to

the infringement of one or more claims of the Peloton Patents;

       146.    For temporary, preliminary, and permanent injunctive relief enjoining Defendant

Echelon and its officers, directors, agents, affiliates, employees, divisions, branches, subsidiaries,

parents, and all others acting in active concert or participation with it, from infringement,

inducing the infringement, or contributing to the infringement of the Peloton Patents;

       147.    For an award to Peloton for its damages, costs, expenses, and pre-judgment and

post-judgment interest for Defendant Echelon’s infringement of the Peloton Patents;

       148.    For an award to Peloton for enhanced damages equal to treble the amount of

actual damages, for the willful nature of Defendant Echelon’s acts of infringement as to the

Peloton Patents, with notice being made at least as early as the filing of this Complaint;

       149.    That Defendant Echelon has violated federal and state law in engaging in unfair

competition, false advertising, trade libel, trademark infringement, trade dress infringement,

trademark and trade dress dilution, and deceptive trade practices;

       150.    For temporary, preliminary, and permanent injunctive relief enjoining Defendant

Echelon and its officers, directors, agents, affiliates, employees, divisions, branches, subsidiaries,

parents, and all others acting in active concert or participation with it, from engaging in further

acts of unfair competition, false advertising, trademark infringement, trade dress infringement,

trademark and trade dress dilution, and deceptive trade practices;




                                                 45
 Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 46 of 47 PageID #: 46




       151.    For an award to Peloton for its damages, costs, expenses, and pre-judgment and

post-judgment interest for Defendant Echelon’s unlawful acts of unfair competition, false

advertising, trade libel, trademark infringement, trade dress infringement, trademark and trade

dress dilution, and deceptive trade practices;

       152.    For an award to Peloton for profits earned by Defendant Echelon attributable to

its unlawful acts of unfair competition, false advertising, trade libel, trademark infringement,

trade dress infringement, trademark and trade dress dilution, and deceptive trade practices;

       153.    A declaration that this is an “exceptional case” due to the willful nature of

Defendant Echelon’s false advertising, trademark infringement, trade dress infringement, and

trademark and trade dress dilution, and awarding damages and attorneys’ fees and costs to

Peloton pursuant to 15 U.S.C. § 1117, and any other damages including treble damages and

attorneys’ fees to the full extent allowable under the law;

       154.    Reasonable attorneys’ fees and costs against Defendant Echelon; and

       155.    For any and all other relief to which Peloton may show itself to be entitled.

                                         JURY DEMAND

       Plaintiff demands a trial by jury for all issues so triable.




                                                  46
 Case 1:19-cv-01903-RGA Document 1 Filed 10/08/19 Page 47 of 47 PageID #: 47




HUESTON HENNIGAN LLP                   MORRIS, NICHOLS, ARSHT & TUNNELL LLP
Steven N. Feldman
Christina V. Rayburn                   /s/ Michael J. Flynn
Karen Younkins
Kevin X. Wang                          Michael J. Flynn (#5333)
Maxwell K. Coll                        1201 North Market Street
523 West Sixth Street, Suite 400       P.O. Box 1347
Los Angeles, CA 90014                  Wilmington, DE 19899-1347
(213) 788-7272                         (302) 658-9200
                                       mflynn@mnat.com

                                       Counsel for Plaintiff Peloton Interactive, Inc.

October 8, 2019




                                     47
